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                              UNITED STATES BANKRUPTCY COURT
                               EASTERN DISTRICT OF LOUISIANA
IN RE
                                                                             BANKRUPTCY NO.
EUGENE BARON SCHWING, JR.                                                    18-13335
                                                                             SECTION "B"
DEBTOR(S)                                                                    CHAPTER 13

                        ORDER CONFIRMING CHAPTER 13 PLAN

Pursuant to a hearing scheduled for March 20, 2019, the Court finds that the plan filed in this case on
December 14, 2018, as amended, if applicable, complies with 11 U.S.C. §1325; therefore,

IT IS ORDERED, ADJUDGED, AND DECREED THAT:

1. The plan is confirmed and that the debtor(s) shall make payments to the Trustee and to any other
parties according to the terms in the plan.

2. All proceeds from the sale of property, proceeds from lawsuits or settlements, or tax refunds payable
to the debtor(s) shall be turned over to the Trustee for administration.

3. The debtor(s) shall provide to the Trustee, at least once every six months until the case is closed, a
report on the status of any pending or potential lawsuit in which the debtor(s) is or may be a plaintiff.

4. In cases filed on or after September 16, 2009, the Debtors’ Certification of Completion of Post-
petition Instructional Course Concerning Personal Financial Management (Official Form 23) is due no
later than the date when the last payment is made by the debtor(s) as required by the plan or the filing of
a motion for a discharge under §1328(b) of the Code.

5. Any and all objections to confirmation that were not withdrawn are denied.

6. There will be an additional 4% dividend to the General Unsecured Creditors.

7. Based on debtor(s) schedules I and J, the debtor(s) monthly expenses are $144.00 below the standard
for allowed monthly expenses under Section 1325 of the Bankruptcy Code. As a result, debtor(s) is
authorized to retain up to $1,728.00 in tax refunds (after deducting any exempt funds earned as Earned
Income Credit) without further Order of the Court.

New Orleans, Louisiana, March 25, 2019.



                                                      Hon. Jerry A. Brown
                                                      U.S. Bankruptcy Judge
